      Case 3:22-cv-00021-SMR-HCA Document 55 Filed 07/17/23 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF IOWA
                               EASTERN DIVISION


GRISELDA LOPEZ
                                                             No. 3:22-cv-00021
              Plaintiff,

vs.
                                                     STIPULATION FOR DISMISSAL
JANE ALDRICH (BEYER), NANCY                               WITH PREJUDICE
BEYER (HENDERSON), MARY
ALTERMAN (BEYER), DEBRA
PELINSKI (BEYER), and DAVID BEYER,
individually, jointly and severally,

              Defendants.


       All matters in controversy have been settled by and between the parties. Pursuant to

Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and Local Rule 41(b), the parties hereby

stipulate to the voluntary dismissal with prejudice of the above-captioned lawsuit, including

all claims Plaintiff has asserted against Defendants in the Complaint filed herein, with each

party to bear its own costs, expenses and attorneys’ fees, except as otherwise provided for by

the parties’ settlement agreement. The parties request and agree that the Court retain

jurisdiction to enforce the parties’ settlement agreement.
Case 3:22-cv-00021-SMR-HCA Document 55 Filed 07/17/23 Page 2 of 3
      Case 3:22-cv-00021-SMR-HCA Document 55 Filed 07/17/23 Page 3 of 3




                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was filed electronically.

Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties

indicated on the electronic filing receipt.

                                               s/ Joseph F. Scott
                                               Joseph F. Scott (Ohio 0029780)
